AO 455 (Rev. 01/09) Waiver of an Indictment

UNITED STATES DISTRICT COURT
for the
Western District of Missouri

 

United States of America )
Vv. ) Case No. 5:19-cr-06011-SJ-DGK
David Lane Byrns
Defendant )
WAIVER OF AN INDICTMENT

I understand that I have been accused of one or more offenses punishable by imprisonment for more than one
year. I was advised in open court of my rights and the nature of the proposed charges against me.

After receiving this advice, | waive my right to prosecution by indictment and consent to prosecution by
information.

Date: 09/26/2019

 

J. Justin dondeon Ton span

Printed name of defendant's attorney

dh soit

Judge's signtiture

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Chief Magistrate Judge Matt J. Whitworth
Judge's printed name and title

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